Case 3:24-bk-00496-BAJ Doc377 Filed 06/24/25 Pagei1of3

UNITED STATES BANISRUPTCY COURT Adinitts
MIDDLE DISTRICT OF FLORIDA

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JACKSONVILLE DIVISION

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In re:

Case No. 3:24-bk-00496-BAJ

GENIE INVESTMENTS NV, INC,

Debtor,

Chapter 7

Aaron Cohen, Chapter 7 Trustee’s Exhibit List
(Trial on Trustee’s Motion to Enforce Automatic Stay (Doc. 296))
Hearing Date: June 24, 2025 at 9:00 a.m,

Exh. #

Document Description

Date
Identified

Date
Admitted

With or
Without
Objection

Trustee’s Complaint for Confirmation of
Arbitration Award filed against Velanos
Principal Capital, Inc. in Adv. Pro. No.
3:25-ap-0007-BAJ

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Final Judgment in favor of Trustee against
Velanos Principal Capital, Inc. in Adv. Pro.
No. 3:25-ap-0007-BAJ

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Complaint by John Michael Cohan and
David Hughes filed against Joshua
Wearmouth, Velanos, Resydency and
Nordic Trust Alliance KB, LLC

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October 14, 2022 Engagement Agreement
letter from Warren Law Group to Genie
Investments, NV

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Complaint by fohn Michael Cohan and
David Hughes filed against Scarinci
Hollenbeck, LLC as successor in interest to
Warren Law Group, and Scott Oh

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In re:

Case 3:24-bk-00496-BAJ Doc377 Filed 06/24/25 Page 2of3

UNITED STATES BANIKRUPTCY COURT

MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION

GENIE INVESTMENTS NV, INC.,

Debtor,

Case No.: 3:24-bk-00496-BA]J

Chapter 7

Aaron Cohen, Chapter 7 Trustee's Exhibit List
(Trial on Motion For Sanctions Against Chapter 7 Trustee, Akerman LLP, Aaron Cohen, and
Ray Elliott for Bad Faith Litigation, Abuse of Process, Suppression of Exculpatory Evidence,
Retaliation, and Breach of Fiduciary Duty (Doc. 322))

Hearing Date: June 24, 2025 at 9:00 a.m.

Exh. # Document Description Date Date With or
Identified Admitted Without
/ Objection
i Joint Stipulation of Facts of Undisputed p : ft
Facts and Exhibits Regarding the Trustee’s Gg) > vf oS 6 x Up 5 Wlhout

Motion to Enforce Automatic Stay

Motion for Entry of Final Default Judgment
Against Zoomeral, Inc., Capitulum, LLC,
Genie Investments, IL, LLC, Better Metheds
LLC, and Genie Angels, LLC nka Merkton
Group, LLC in Adv. Pro. No, 3:25-ap-
00011-BAT

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Final Judgment in favor of Trustee against
Zoomeral, Inc,, Capitulum, LLC, Genie
Investments, I, LLC, Better Methods LLC,
and Genie Angels, LLC nka Merkton
Group, LLC in Adv, Pro, No. 3:25-ap-
00011-BAJ

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In re:

Case 3:24-bk-00496-BAJ Doc377 Filed 06/24/25 Page 3of3

UNITED STATES BANKRUPTCY COURT

MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION

GENIE INVESTMENTS NY, INC.,

Debtor.

Case No.: 3:24-bk-00496-BAJ

Chapter 7

Aaron Cohen, Chapter 7 Trustee's Exhibit List
(Trial on Motion For Sanctions Against Raye C, Elliott & Akerman LLP for Violation of
Bankruptcy Stay and Bad Faith Litigation (Doc. 325))

Hearing Date: June 24, 2025 at 9:00 a.m.

Exh, # Document Description Date Date With or
Identified Admitted Without
Objection
4. Notice of Filing Copy of Bankruptcy Court |
Order (Doc. 4) filed in John Michael Cohan |(,/}- as
and David Hughes v. Scarinci Hollenbeck, ‘t bf. al [> S wfout
LLC and Scott Oh; United States District
Court, Middle District of Florida; Case No.
3:25-cv-00164-HES-MCR
/ 2 Notice of Appearance (Doc. 5) filed in John
Michael Cohan and David Hughes v. .
Scarinci Hollenbeck, LLC and Scott Oh; / ye blade bs” [a wlout
United States District Court, Middle District © ot | os [24 } |

of Florida; Case No. 3:25-cv-00164-HES-
MCR

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